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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF FLORIDA
                                   PENSACOLA DIVISION
                               CASE NO. 3:18-cv-571-RV-EMT
JESSICA N. ROGERS, as personal representative
of the Estate of Jose F. Escano-Reyes, and as
parent and natural guardian of Y.C., a minor child,
                                     Plaintiff,
v.
DEP. JOHN GADDIS in his individual capacity,
DEP. MICHELLE BAUMAN in her individual capacity,
and SHERIFF BOB JOHNSON, in his official capacity,
                                     Defendants.
________________________________________________/
 [PLAINTIFF’S PROPOSED PHASE II] VERDICT FORM ON PUNITIVE
                         DAMAGES
                            (Bifurcated Procedure, Phase II)
        We, the jury, return the following verdict:
           1. What is the total amount of punitive damages awardable against
           Defendant Gaddis?
           $_________________________________
           2. What is the total amount of punitive damages awardable against
           Defendant Bauman?
           $_________________________________
               Please sign and date the verdict form and return it to the courtroom.
               SO SAY WE ALL this ______ day of _______________. 2021.
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                                            _________________________
                                            Foreperson




                               Respectfully submitted,
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                               BY: /s/Bradford Rothwell Sohn

                                      BRAD R. SOHN
                                      FLA. BAR NO. 98788




                        CERTIFICATE OF SERVICE

      I certify that the foregoing was filed via CM/ECF this 1ST day of June,
2021, which will serve all parties of record.
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                             BY: /s/Bradford Rothwell Sohn

                                  BRAD R. SOHN
                                  FLA. BAR NO. 98788
